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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA

 In re:    Miriam Chirino Perez                                 Case No.: 25-11909-LMI
                                                                Chapter 13
                  Debtor               /


                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the Objection to Claim of Space
Coast Credit Union and Notice of Hearing was sent to all parties on the attached service list on
May 13, 2025.

Electronically & Mailed: Nancy K. Neidich, Trustee PO Box 279806
Hollywood, FL 33027

First Class Mail:

 Debtor(s), Miriam Chirino Perez
 6640 SW 12 ST Unit 1
 Miami, FL 33144

Space Coast Credit Union
Attn: Donna Bruton, Loss Mit Assoc.
8045 N Wickham Road
Melbourne, FL 32940

Space Coast Credit Union
Attn: Timothy Antonition, CEO
8045 N Wickham Road
Melbourne, FL 32940



 Respectfully submitted:                   Jose A. Blanco, P.A.
 May 13, 2025                              By: /s/ Jose A. Blanco | FBN: 062449
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